                              UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA                               Criminal No.


                   V.                                   Violations:


 JOHN DOE, a/k/a RICHARD CHEREMEH,                      Count One: False Statement Relating to
                        Defendant                       Naturalization
                                                        (18U.S.C. § 1015(a))

                                                        Count Two: Aggravated Identity Theft
                                                        (I8U.S.C. § 1028A(a)(l))


                                            INDICTMENT



                                            COUNT ONE
                             False Statement Relating to Naturalization
                                       (18U.S.C. § 1015(a))

The Grand Jury charges:

        On or about July 31, 2014, in the District of Massachusetts, the defendant,

                            JOHN DOE, a/k/a RICHARD CHEREMEH,

did knowingly make a false statement under oath on an Application for Naturalization (Form

N-400), a case, proceeding, and matter relating to, and under, and by virtue of any law of the

United States relating to naturalization, citizenship, and registry of aliens, that is: that he had

never given any U.S. Government official any information or documentation that was false,

fraudulent, or misleading, which statement he knew to be false.

        All in violation of Title 18, United States Code, Section 1015(a).
